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                                UNITED STATES DISTRICT COURT

                            NORTHERN DISTRICT OF CALIFORNIA


    LONNY SHAVELSON, M.D., et al.,                    Case No. 21-cv-06654-VC
                  Plaintiffs,
                                                      ORDER GRANTING MOTIONS TO
           v.                                         DISMISS AND GRANTING LEAVE
                                                      TO FILE AS AMICI CURIAE
    ROBERT BONTA, et al.,
                                                      Re: Dkt. Nos. 83, 84, 91
                  Defendants.



        The motions to dismiss are granted, and the complaint is dismissed for lack of

jurisdiction. The motion for leave to file as amici curiae is also granted.1

        As explained in a prior ruling, the plaintiffs have narrowed their challenge to California’s

End of Life Option Act. Shavelson v. Bonta, 21-cv-06654, 2022 WL 2234973, at *6 (N.D. Cal.

June 22, 2022). But their new theory is so narrow that it presents too hypothetical and conjectural

an injury for the plaintiffs to have standing. Id.
        It is surely true that people with ALS like Alex Sajkovic, the named plaintiff, are facing a

terrible and unpredictable disease. Many of them, and those with similar conditions, will likely

lose the ability to completely self-administer aid-in-dying medications. It seems plausible that for

some of them, there will be a window where they could nevertheless at least begin to administer

the medications (although the complaint’s description of how these medications are administered

is very limited). That window will be unpredictable. One reading of the complaint concerns a


1
 This order assumes the reader is familiar with the case. The plaintiffs did far more than change
named plaintiffs in the Third Amended Complaint, which was filed after the motions to dismiss.
The Court construes the motions to dismiss in light of the Third Amended Complaint.
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situation where a terminally ill person unexpectedly finds themselves unable to complete

administration. That theory of injury would require that a doctor, family member, or other person

be deterred from stepping in (or would do so and then face prosecution, which, as the Attorney

General and the District Attorney suggest in their respective briefs, seems highly unlikely). This

scenario is simply too contingent and speculative to confer standing. See Babbitt v. United Farm

Workers National Union, 442 U.S. 289, 298 (1979); Younger v. Harris, 401 U.S. 37, 42 (1971).

And the Court cannot conceive of a way the plaintiffs could allege an injury, on this theory, that

is concrete and particularized—especially given that the prior ruling put the plaintiffs on notice

of exactly these jurisdictional concerns.

       An alternative reading of the requested accommodation is that the assistance prohibition

contained in the End of Life Option Act be set aside entirely when a patient or their physician

knows or suspects in advance that they will not be able to completely self-administer. See Dkt.

No. 89 at 13. The plaintiffs have not adequately alleged standing for this scenario as well: Their

theory relies on a seemingly unknowable confluence of circumstances, including the progression

of the patient’s disease, the knowledge of the patient and doctor, and the actions of prosecutors.

       It seems unlikely that that the plaintiffs could adequately allege (and ultimately

demonstrate) standing under this alternative reading of the requested accommodation if given

another attempt. But even if they did, the Court would dismiss the lawsuit on the merits. Setting
aside the assistance prohibition would cross the sharp line drawn by the California Legislature

between assisted suicide and euthanasia, and thus would fundamentally alter the nature of the

program for the same basic reasons discussed in the prior ruling. Shavelson, 2022 WL 2234973,

at *4–5. And that dismissal would be with prejudice, given the number of chances the plaintiffs

have now had to state a claim.

       The dismissal for lack of jurisdiction is therefore without leave to amend—it is clear by

now that further amendment would be futile.

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      IT IS SO ORDERED.

Dated: December 7, 2022
                                   ______________________________________
                                   VINCE CHHABRIA
                                   United States District Judge




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